             IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
ROAMINGWOOD SEWER & WATER :                     Civil No. 1:20-CV-00640
ASSOCIATION,                :
                            :
         Plaintiff,         :
                            :
         v.                 :
                            :
NATIONAL DIVERSIFIED SALES, :
INC.,                       :
                            :
         Defendant.         :                   Judge Jennifer P. Wilson

                                    ORDER

      AND NOW, on this 21st day of December, 2020, for the reasons set forth in

the accompanying memorandum, IT IS ORDERED THAT Defendant’s motion

to dismiss and to strike, Doc. 11, is DENIED.

                                           s/Jennifer P. Wilson
                                           JENNIFER P. WILSON
                                           United States District Court Judge
                                           Middle District of Pennsylvania
